     Case: 2:10-cv-01120-JLG-TPK Doc #: 1 Filed: 12/13/10 Page: 1 of 5 PAGEID #: 1




                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO

                             COURT FILE NO.: _____________________


Tracy Daiber-Fiber
1298 Oak Park Drive
Galloway, OH 43119
                                                                      COMPLAINT
                Plaintiff,
v.

Resurgent Capital Services, LP                                 JURY TRIAL DEMANDED
15 Main Street, Suite 600
Greenville, SC 29601

And

Wyse Financial Services, Inc.
3410 South Galena Street, Suite 250
Denver, CO 80231

               Defendant(s).


                                          JURISDICTION

1.      Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §

        1692k(d), and pursuant to 28 U.S.C. § 1367 for pendent state law claims.

2.      This action arises out of Defendants repeated violations of the Fair Debt Collection Practices

        Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and out of the invasions of Plaintiff personal and

        financial privacy by Defendants and its agents in its illegal efforts to collect a consumer debt

        from Plaintiff.

3.      Venue is proper in this District because the acts and transactions occurred here, Plaintiff

        resides here, and Defendants transact business here.

                                              PARTIES




                                                  -1-
      Case: 2:10-cv-01120-JLG-TPK Doc #: 1 Filed: 12/13/10 Page: 2 of 5 PAGEID #: 2




4.       Plaintiff Tracey L. Daiber-Fiber is a natural person who resides in the City of Galloway,

         County of Franklin, State of Ohio and is a “consumer” as that term is defined by 15 U.S.C. §

         1692a(3).

5.       Defendant Resurgent Capital Services, LP is a collection agency operating from an address

         of 15 Main Street, Suite 600, Greenville, SC 29601 and is a “debt collector” as that term is

         defined by 15 U.S.C. § 1692a(6).

6.       Defendant Wyse Financial Services, Inc. is a collection agency operating from an address of

         3410 South Galena Street, Suite 250, Denver, CO 80231 and is a “debt collector” as that

         term is defined by 15 U.S.C. § 1692a(6).

                                    FACTUAL ALLEGATIONS

7.       Sometime prior to 2009, Plaintiff incurred a financial obligation that was primarily for

         personal, family or household purposes and is therefore a “debt” as that term is defined

         by 15 U.S.C. § 1692a(5), namely, an account with Washington Mutual, account ending in

         5444.

8.       On or about October 29, 2009, with The Palmer Firm acting as her agent, Plaintiff reached

         an agreement with Defendant Resurgent Capital Services LP through its agent to settle the

         debt for $525.83. Under the terms of this agreement, the $525.83 had to be paid by October

         30, 2009.

9.       On October 30, 2009, The Palmer Firm paid this account through check by phone in the

         amount of $525.83 to Brachfeld Law Group, the law firm/agent representing Defendant

         Resurgent Capital Services LP at that time regarding the Washington Mutual account.

10.      On or about December 24, 2009, Defendant Wyse Financial Services, Inc. sent Plaintiff a

         letter alleging amounts due on the settled account.




                                                    -2-
      Case: 2:10-cv-01120-JLG-TPK Doc #: 1 Filed: 12/13/10 Page: 3 of 5 PAGEID #: 3




11.      The above-described collection communication made to Plaintiff by Defendants and other

         collection employees employed by Defendants were made in violation of numerous and

         multiple provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f(1) and 15

         U.S.C. § 1692c(5).

12.      The above-detailed conduct by these Defendants of harassing Plaintiffs in an effort to collect

         this debt was a violation of numerous and multiple provisions of the FDCPA, including but

         not limited to all of the above mentioned provisions of the FDCPA..

                                           TRIAL BY JURY

13.      Plaintiffs are entitled to and hereby respectfully demand a trial by jury on all issues so

         triable. US Const. amend. 7. Fed.R.Civ.P. 38.

                                          CAUSE OF ACTION

           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          AGAINST ALL DEFENDANTS
                             15 U.S.C. § 1692 et seq.

14.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

         though fully stated herein.

15.      The foregoing acts and omissions of Defendants and their agents constitute numerous and

         multiple violations of the FDCPA.

16.       Defendant Wyse Financial Services, Inc.’s actions violated the FDCPA including, but

         are not limited to, the following:

         (a) Attempting to collect a debt amount that is not expressly authorized by an agreement

         or permitted by law. 15 U.S.C. § 1692f(1).

17.      Defendant Resurgent Capital Services LP’s actions violated the FDCPA including, but are

         not limited to, the following:




                                                  -3-
   Case: 2:10-cv-01120-JLG-TPK Doc #: 1 Filed: 12/13/10 Page: 4 of 5 PAGEID #: 4




      (a) making a false representation of the character, amount, or legal status of any debt. 15

USC 1692(e)(2)(a).

      (b) Using a false representation or deceptive means to collect or attempt to collect any

debt or to obtain information concerning a consumer. 15 USC 1692(e)(10).

21. As a result of Defendants violations of the Fair Debt Collection Practices Act, Plaintiff is

entitled to statutory damages and reasonable attorney’s fees and costs from Defendants herein.

22. As a result of each and every Defendants violations of the FDCPA, Plaintiff is entitled to any

actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to

$1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and costs

pursuant to 15 U.S.C. § 1692k(a)(3), from Defendants.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against each and every Defendant:

       •   for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against each and

           every Defendant and for each Plaintiff;

       •   for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

           §1692k(a)(2)(A) against Defendant.

       •   for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

           1692k(a)(3) against Defendant and for Plaintiff;

       •   for such other and further relief as may be just and proper.




                                                -4-
  Case: 2:10-cv-01120-JLG-TPK Doc #: 1 Filed: 12/13/10 Page: 5 of 5 PAGEID #: 5




                                         Respectfully submitted,

Dated: December 13, 2010                 Vidmar and Hardesty, Ltd.

                                         By: /s/ Christian Hardesty
                                         Christian Hardesty
                                         Attorney I.D.#0078289
                                         1971 West Fifth Avenue, Suite 4
                                         Columbus, OH 43212
                                         Telephone: (614) 543-0369
                                         Facsimile: (614) 543-1306




                                       -5-
